Case 1:98-cr-00038-JMS-MJD Document 68 Filed 12/29/15 Page 1 of 4 PageID #: 1009
    Case: 15-2812    Document: 00712673813      Filed: 12/29/2015  Pages: 2      (1 of 4)



       UNITED STATES COURT OF APPEALS FOR THE SEVENTH CIRCUIT



 Everett McKinley Dirksen United States Courthouse                                       Office of the Clerk
         Room 2722 - 219 S. Dearborn Street                                             Phone: (312) 435-5850
              Chicago, Illinois 60604                                                   www.ca7.uscourts.gov




                                          NOTICE OF ISSUANCE OF MANDATE
  December 29, 2015


                Laura A. Briggs
 To:
                UNITED STATES DISTRICT COURT
                Southern District of Indiana
                United States Courthouse
                Indianapolis , IN 46204-0000



                                          UNITED STATES OF AMERICA,
                                          Plaintiff - Appellee

  No. 15-2812                             v.

                                          MARK A. WHITE,
                                          Defendant - Appellant

   Originating Case Information:

  District Court No: 1:98-cr-00038-LJM-MJD-3
  Southern District of Indiana, Indianapolis Division
  District Judge Larry J. McKinney
 Herewith is the mandate of this court in this appeal, along with the Bill of Costs, if any. A
 certified copy of the opinion/order of the court and judgment, if any, and any direction as to
 costs shall constitute the mandate.


   RECORD ON APPEAL STATUS:                                       No record to be returned




  This notice sent to:
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    Case: 15-2812    Document: 00712673813      Filed: 12/29/2015  Pages: 2      (2 of 4)



  []       United States Marshal                       [X]      United States Probation Officer

 NOTE TO COUNSEL:
 If any physical and large documentary exhibits have been filed in the above-entitled cause, they are
 to be withdrawn ten (10) days from the date of this notice. Exhibits not withdrawn during this period
 will be disposed of.

 Please acknowledge receipt of these documents on the enclosed copy of this notice.

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  Received above mandate and record, if any, from the Clerk, U.S. Court of Appeals for the
  Seventh Circuit.

  Date:                                                Received by:

       12/29/2015
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      UNITED STATES COURT OF APPEALS FOR THE SEVENTH CIRCUIT



 Everett McKinley Dirksen United States Courthouse                                Office of the Clerk
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                                                          ORDER
  Submitted November 25, 2015
  Decided December 7, 2015
                                                          Before
                                               DIANE P. WOOD, Chief Judge
                                               WILLIAM J. BAUER, Circuit Judge
                                               MICHAEL S. KANNE, Circuit Judge

                                          UNITED STATES OF AMERICA,
                                          Plaintiff - Appellee

  No. 15-2812                             v.

                                          MARK A. WHITE,
                                          Defendant - Appellant

   Originating Case Information:

  District Court No: 1:98-cr-00038-LJM-MJD-3
  Southern District of Indiana, Indianapolis Division
  District Judge Larry J. McKinney


  The following are before the court:

  1. MOTION FOR APPOINTMENT OF COUNSEL, filed on August 31, 2015, by
  pro se Appellant.

  2. APPELLANT’S BRIEF, filed on September 22, 2015, by pro se Appellant.

  Appellant Mark White seeks counsel to represent him in his appeal, which is timely
  only with respect the denial of a motion to reconsider the denial of his motion to
  reduce sentence pursuant to 18 U.S.C. § 3582(c)(2) and Amendment 782. The district
Case 1:98-cr-00038-JMS-MJD Document 68 Filed 12/29/15 Page 4 of 4 PageID #: 1012
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                                                         12/29/2015     2
                                                                     Pages: 2    (4 of 4)



  No. 15-2812                                                                         Page 2

  court denied the original motion on the ground that White's offense involved 500
  kilograms of cocaine and 1.5 kilograms of crack cocaine (the equivalent of 130,000
  kilograms of marijuana), and his base offense level of 38 has not been lowered by the
  recent amendments to the crack cocaine guidelines. United States v. Irons, 712 F.3d
  1185, 1189 (7th Cir. 2013); United States v. Poole, 550 F.3d 676, 687-80 (2008); U.S.S.G.
  § 1B1.10(a)(2)(B). In his motion to reconsider, White argued that the drug weight
  attributed to him was incorrect and the court should recalculate the weight. The court
  denied reconsideration and explained that White had made no showing that the court
  misunderstood his arguments.

  White already has filed his opening brief in the appeal, and he argues that the original
  drug amount needs to be recalculated and that his criminal history should have been
  calculated to be only level 1 instead of 2. He suggests that the sentencing court should
  have determined an individual amount of drugs for each co-defendant, proposing
  that each of the 9 defendants be held responsible for only 55 kilograms of the total 500
  kilograms of cocaine. But White was convicted of money laundering and conspiracy
  to distribute cocaine, and in a drug conspiracy, "each conspirator is responsible not
  only for drug quantities directly attributable to him but also for amounts involved in
  transactions by coconspirators that were reasonably foreseeable to him." United States
  v. Turner, 604 F.3d 381, 385 (7th Cir. 2010), quoting United States v. Acosta, 534 F.3d 574,
  585 (7th Cir. 2008). White's conspiracy involved large amounts of cocaine, he was
  involved for five years, and he did not challenge the amount of drugs attributed to
  him in his direct appeal. United States v. Thompson, 286 F.3d 950 (7th Cir. 2002). Under
  the current drug quantity table, 450 kilograms or more of cocaine results in a base
  offense level of 38, and White's base offense level remains 38. U.S.S.G. § 2D1.1(c)(1)
  (2014). Because his guidelines range remains unchanged, the district court lacked the
  authority to reduce his sentence pursuant to § 3582(c)(2). Irons, 712 F.3d at 1189;
  United States v. Davis, 682 F.3d 596, 610 (7th Cir. 2012); U.S.S.G. § 1B1.10(a)(2)(B).
  Accordingly,

  IT IS ORDERED that the request for counsel is DENIED and the judgment of the
  district court is summarily AFFIRMED.



  form name: c7_Order_3J(form ID: 177)
